






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00429-CR


NO. 03-04-00430-CR






Desiderio Gonzales, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF CALDWELL COUNTY, 274TH JUDICIAL DISTRICT


NOS. 2003-076 &amp; 2003-077, HONORABLE CHARLES R. RAMSAY, JUDGE PRESIDING






O R D E R


PER CURIAM

Appellant's brief was originally due November 3, 2004.  The time for filing was
extended twice on counsel's motion, most recently to January 3, 2005.  The brief has not been
tendered for filing and no further extension of time has been sought.

Appellant's counsel, Mr. Terrence W. Kirk, is ordered to file a brief in appellant's
behalf no later than February 3, 2005.  No further extension of time for filing this brief will be
granted.

It is ordered January 21, 2005


Before Chief Justice Law, Justices B. A. Smith and Pemberton

Do Not Publish


